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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
The Law Offices of Gregory Rohl            ERIC GRILL (P64713)
41850 West 11 Mile Rd., Ste.110            Assistant Attorneys General
Novi, MI 48375                             Attorneys for Defendants
(248) 380-9404                             P.O. Box 30736
gregoryrohl@yahoo.com                      Lansing, MI 48909
                                           (517) 335-7659
                                           meingasth@michigan.gov
                                           grille@michigan.gov

                                           ANDREW A. PATERSON (P18690)
                                           Attorney for Proposed Intervening
                                           Defendant Robert Davis
                                           2893 E. Eisenhower Pkwy
                                           Ann Arbor, MI 48108
                                           (248) 568-9712
                                           Aap43@outlook.com
__________________________________________________________________/

  INTERVENOR DEFENDANT ROBERT DAVIS’ EMERGENCY
 MOTION TO STRIKE PLAINTIFFS’ MOTION FOR EXTENSION
        OF TIME TO FILE RESPONSE (ECF NO. 74).

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      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

(hereinafter “Intervenor Defendant Davis”), by and through his

attorney, ANDREW A. PATERSON, and for his Emergency Motion to

Strike Plaintiffs’ Motion for Extension of Time To File Response (ECF

No. 74), states the following:

                             I.    Concurrence

      Pursuant to Local Rule 7.1, prior to filing the instant motion,

counsel for Intervenor Defendant Davis sought concurrence from

Plaintiffs’ counsel, but concurrence was denied, necessitating the filing

of this motion.

             II.   Necessity for Immediate Consideration

      It is necessary for the Court to address the merits of Intervenor

Defendant Davis’ instant motion on an expedited basis because Plaintiffs’

motion for extension of time (ECF No. 74) was improperly filed because

Plaintiffs’ counsel mistakenly selected and identified Intervenor

Defendant Davis as being the “filer” of the motion for extension of time

(ECF No. 74) when in fact the Plaintiffs are the true “filers” of the motion

for extension of time (ECF No. 74) and not Intervenor Defendant Davis.


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This error needs to be corrected immediately so that Plaintiffs’ counsel

can properly refile the motion for extension of time (ECF No. 74).

        III. Plaintiffs’ Motion for Extension of Time Must Be
          Stricken And Refiled Correctly Identifying The Proper
                            Filers of the Motion.

      On December 22, 2020, Intervenor Defendant Robert Davis filed a

motion for sanctions against the Plaintiffs and Plaintiffs’ counsel. (ECF

No. 69). On January 2, 2021, Plaintiffs’ counsel sent Intervenor

Defendant Davis’ counsel an email seeking concurrence for Plaintiffs’

motion for extension of time to file a response to Intervenor Defendant

Davis’ motion for sanctions (ECF No. 69). (See Email Thread attached

as Exhibit A). However, concurrence was denied. (Id.)

      Accordingly, on January 4, 2021, Plaintiffs’ counsel filed a motion

for extension of time. (ECF No. 74). However, upon closely reviewing

the ECF filing notice, Intervenor Defendant Davis’ counsel realized that

Plaintiffs’ counsel mistakenly selected and identified Intervenor

Defendant Davis as the “filer” of said motion. (See ECF Filing for ECF

No. 74 attached as Exhibit A). Upon recognizing this apparent error,

Intervenor Defendant Davis’ counsel immediately contacted Plaintiffs’

counsel and requested that the motion be withdrawn and refiled


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correctly. (Id.) Surprisingly, Plaintiffs’ counsel refused to correct this

error and further advised Intervenor Defendant Davis’ counsel that the

Clerk’s office had advised Plaintiffs’ counsel that the motion for

extension of time (ECF No. 74) was properly filed despite the apparent

error that incorrectly lists Intervenor Defendant Davis as the “filer” of

the motion. (Id.)

      Plaintiffs’ filing must be corrected so that the record can

accurately reflect the true “filers” of the motion for extension of time

(ECF No. 74). Accordingly, Plaintiffs’ motion for extension of time (ECF

No. 74) must be STRICKEN and refiled identifying the correct “filers” of

the motion.

                             CONCLUSION

   WHEREFORE, for the foregoing reasons, Intervenor Defendant

Davis prays that this Honorable Court GRANT his emergency motion to

strike Plaintiffs’ motion for extension of time (ECF No. 74) and order

Plaintiffs to refile said motion identifying the proper and correct “filers”

of the motion.




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Dated: January 4, 2021             Respectfully submitted,

                              /s/ ANDREW A. PATERSON
                              ANDREW A. PATERSON (P18690)
                              Attorney for Intervenor Defendant
                              Robert Davis
                              2893 E. Eisenhower
                              Ann Arbor, MI 48108
                              (248) 568-9712
                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 4th day of January, 2021, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: January 4, 2021             Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
                                   Robert Davis
                                   2893 E. Eisenhower Pkwy
                                   Ann Arbor, MI 48108
                                   (248) 568-9712
                                   aap43@outlook.com




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 Re: Fw: Motion for Extension of Time to File Response/Reply in 2:20-cv-13134-LVP-RSW King et al v.
 Whitmer et al
 To: Stefanie Lambert <attorneystefanielambert@gmail.com>
 From: Drew Paterson
 Mon 1/4/2021 2:01 PM
 Counsel,
 Respectfully, your motion was not properly filed because it lists my
 client as the "filer" of the motion". Again, my client should not be listed
 as the "filer" of the motion for extension of time. Rather, your clients
 should be listed as the filers. Accordingly, I will be proceeding with
 filing a motion to strike your improperly filed motion and requesting the
 Court to assess additional sanctions for me having to file this motion
 since you should simply voluntarily withdraw this improperly filed
 motion and simply refile it.

 Drew Paterson
 (248) 568-9712
 aap43@outlook.com
 From: Stefanie Lambert <attorneystefanielambert@gmail.com>
 Sent: Monday, January 4, 2021 1:57 PM
 To: Drew Paterson <aap43@outlook.com>
 Subject: Re: Fw: Motion for Extension of Time to File Response/Reply in 2:20-cv-13134-LVP-RSW King et
 al v. Whitmer et al

 Counsel,

 I spoke with Devon at the Clerk’s Office to confirm the motion was properly filed.

 Robert Davis is listed because my motion had to be linked to his motion when it was filed.

 Best regards,

 Stefanie Lambert Junttila



 On Mon, Jan 4, 2021 at 1:54 PM Drew Paterson <aap43@outlook.com> wrote:
 Counsel,
 The motion was NOT filed properly because the filer is listed as my
 client, Robert Davis. The flier should be listed as your clients and NOT
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 Mr. Davis. Accordingly, I will be filing an emergency motion to strike
 the improperly filed motion and will be seeking additional
 sanctions. Will you concur in the relief requested?

 Drew Paterson
 (248) 568-9712
 aap43@outlook.com
 From: Stefanie Lambert <attorneystefanielambert@gmail.com>
 Sent: Monday, January 4, 2021 1:51 PM
 To: Drew Paterson <aap43@outlook.com>
 Subject: Re: Fw: Motion for Extension of Time to File Response/Reply in 2:20-cv-13134-LVP-RSW King et
 al v. Whitmer et al

 Counsel,

 As confirmed by the Clerk’s Office, the motion was properly filed.

 Sincerely,

 Stefanie Lambert Junttila

 On Mon, Jan 4, 2021 at 12:57 PM Drew Paterson <aap43@outlook.com> wrote:

 Counsel,
 I am respectfully requesting that your most recent filing be Immediately stricken because you
 incorrectly filed it as if you were representing my client, But Intervening Defendant Robert
 Davis.


 Drew Paterson

 (248) 568-9712

 aap43@outlook.com
 From: cmecfadmin@mied.uscourts.gov <cmecfadmin@mied.uscourts.gov>
 Sent: Sunday, January 3, 2021 10:30 PM
 To: do_not_reply@mied.uscourts.gov <do_not_reply@mied.uscourts.gov>
 Subject: Motion for Extension of Time to File Response/Reply in 2:20-cv-13134-LVP-RSW King et al v.
 Whitmer et al
Case 2:20-cv-13134-LVP-RSW ECF No. 75-1, PageID.3608 Filed 01/04/21 Page 3 of 4




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 referenced document is a transcript, the free copy and 30 page limit do not apply.

                                       U.S. District Court

                                  Eastern District of Michigan

 Notice of Electronic Filing

 The following transaction was entered by Junttila, Stefanie on 1/3/2021 at 10:30 PM EST and
 filed on 1/3/2021
 Case Name:           King et al v. Whitmer et al
 Case Number:         2:20-cv-13134-LVP-RSW
 Filer:               Robert Davis
 Document Number: 74

 Docket Text:
 MOTION for Extension of Time to File Response/Reply as to [69] MOTION for
 Sanctions against Plaintiffs and Plaintiffs' counsel by Robert Davis.
 (Attachments: # (1) Exhibit Exhibit 1) (Junttila, Stefanie)


 2:20-cv-13134-LVP-RSW Notice has been electronically mailed to:

 Andrew A. Paterson , Jr    aap43@hotmail.com

 Daniel M. Share    dshare@bsdd.com, jmichaels@bsdd.com

 Darryl Bressack dbressack@finkbressack.com, ggayer@finkbressack.com,
 khunt@finkbressack.com

 David H. Fink dfink@finkbressack.com, ggayer@finkbressack.com,
 jmack@finkbressack.com, khunt@finkbressack.com

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 StOngeN@michigan.gov

 Eugene Driker     edriker@bsdd.com, ssimkins@bsdd.com

 Ezra D Rosenberg     erosenberg@lawyerscommittee.org
Case 2:20-cv-13134-LVP-RSW ECF No. 75-1, PageID.3609 Filed 01/04/21 Page 4 of 4




 Gregory J. Rohl     gregoryrohl@yahoo.com

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 jmack@finkbressack.com, khunt@finkbressack.com

 Scott R. Eldridge    eldridge@millercanfield.com, yoak@millercanfield.com

 Stefanie Lynn Junttila   attorneystefanielambert@gmail.com

 Stephen E. Glazek     sglazek@bsdd.com, STaylor@bsdd.com

 2:20-cv-13134-LVP-RSW Notice will not be electronically mailed to:

 The following document(s) are associated with this transaction:

 Document description:Main Document
 Original filename:n/a
 Electronic document Stamp:
 [STAMP dcecfStamp_ID=1047317467 [Date=1/3/2021] [FileNumber=10153504-0
 ] [3abf50ee8890aa1552d2a22336a0f78ff1a081cece3a10293d48618480a1166ff7f
 5f748acb2766312cdbfddc576515499997d8c072b72417b33763a9dd60be7]]
 Document description:Exhibit Exhibit 1
 Original filename:n/a
 Electronic document Stamp:
 [STAMP dcecfStamp_ID=1047317467 [Date=1/3/2021] [FileNumber=10153504-1
 ] [99e9864b67395f7c96d7bf2d896951ab9e5432724b5e518b4f858a4bda6b9ca7a9f
 470ce8a5dd82d1733a1f8b03423bb1f0c9bf98b446e7d228680432fe8df92]]
